           Case 2:18-cr-00345-JFW Document 30 Filed 07/09/18 Page 1 of 1 Page ID #:110
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                       CASE NUMBER:

                                                                                CR 18-00345-JFW
                                              PLAINTIFF(S)
                             v.
 JOHN SARO BALIAN,
                                                                         NOTICE OF MANUAL FILING
                                            DEFENDANT(S).

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July 9, 2018                                                       JEFF MITCHELL
Date                                                               Attorney Name
                                                                   UNITED STATES OF AMERICA
                                                                   Party Represented


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